                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


JACK AUPING, individually and on behalf of            )
all others similarly situated,                        )
                                                      )
                                         Plaintiff,   )   Case 1:12-cv-11652-JLT
                                                      )
v.                                                    )
                                                      )
JOHN KENNEDY, WILLIAM C. BOPP,                        )
JOSEPH A. DE PERIO, HOOKS K.                          )
JOHNSON, AMY S. PAUL, WILLIAM                         )
TUMBER, VIKING SYSTEMS, INC.,                         )
CONMED CORPORATION and ARROW                          )
MERGER CORPORATION,                                   )
                                                      )
                                      Defendants.     )

         PLAINTIFF JACK AUPING'S NOTICE OF VOLUNTARY DISMISSAL
                         PURSUANT TO F.R.C.P. 41(a)

       Plaintiff Jack Auping (“Plaintiff”), a shareholder of Viking Systems, Inc. (“Viking” or

the “Company”) hereby notifies the Court pursuant to F.R.C.P. 41(a) that, by this filing, he

dismisses the above-captioned action without prejudice. Defendants have not filed an answer or

a motion for summary judgment. A class has not been certified. Neither Plaintiff nor his

counsel have been compensated in any manner for any role in connection with the filing,

prosecution or dismissal of this action. Plaintiff further notes that an earlier-filed, similar case is

currently pending in the Chancery Court of Delaware.

       Plaintiff further withdraws his Motion for Expedited Discovery and Entry of a Temporary

Restraining Order, and requests that the hearing on such Motion, currently scheduled for

Thursday, September 20, 2012, be cancelled and removed from the Court’s calendar.




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Dated: September 18, 2012

                                             /s/ Mitchell J. Matorin
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                                             Counsel for Plaintiff



                                      Certificate of Service

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the NEF (NEF) and paper copies will

be served on those indicated as non registered participants.



                                      /s/ Mitchell J. Matorin




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